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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL VETERANS LEGAL SERVICES
 PROGRAM, NATIONAL CONSUMER
 LAW CENTER, and ALLIANCE FOR
 JUSTICE, for themselves and all others
 similarly situated,
                      Plaintiffs,                       Case No. 1:16-cv-00745-PLF

         v.

 UNITED STATES OF AMERICA,
                 Defendant.

                                    JOINT STATUS REPORT

       As ordered by this Court on December 29, 2020, the parties file this joint status report to

update the Court on the status of mediation. The parties have conferred, and they propose an

additional ninety-day stay of the proceedings in order to continue mediation discussions.

       On December 29, 2020, this Court granted the parties’ request to stay all proceedings

through June 25, 2021 while the parties engaged in mediation. On May 3, 2021 the parties

participated in an all-day mediation session with Professor Eric Green of Resolutions, LLC. The

matter was not resolved during this session, but the parties agreed that additional discussions

might be productive. Since then, the parties have had additional discussions, both directly and

through Professor Green, the most recent being a facilitated Zoom session with Professor Green

on June 11, 2021. Based on this most recent session, the parties have agreed to continue

discussing possible resolution. As a result, the parties request an additional ninety-day stay of the

proceedings until September 23, 2021. This will allow the parties to continue their discussions

regarding a potential settlement.

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       The parties propose that they submit a status report on or before September 16, 2021

updating the Court on the progress of their discussions.

       Counsel for the parties are available by telephone or videoconference should the Court

have any questions.

Dated: June 16, 2021
                                                    Respectfully submitted,

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                                  Counsel for Plaintiffs National Veterans Legal
                                  Services Program, National Consumer Law
                                  Center, Alliance for Justice, and the Class




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 16, 2021, I electronically filed the foregoing Joint Status

Report through this Court’s CM/ECF system. All participants are registered CM/ECF users and

will be served by the CM/ECF system.



                                                              /s/ William H. Narwold
                                                              William H. Narwold




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